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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                  (EASTERN DIVISION)

In re:                                        )
                                              )
THOMAS R. BATEMAN                             )               CHAPTER 7
KATHERINE E. BATEMAN                          )               CASE NO. 17-11217-FJB
           Debtors.                           )
                                              )
JOSEPH G. BUTLER,                             )
CHAPTER 7 TRUSTEE,                            )
           Plaintiff,                         )
                                              )
vs.                                           )               ADVERSARY PROCEEDING
                                              )               NO.
ROBERT E. BATEMAN,                            )
LESLIE A. BATEMAN AND                         )
TOWN OF SEBAGO, MAINE                         )
            Defendants.                       )
                                              )

                  VERIFIED COMPLAINT TO AVOID AND RECOVER
               FRAUDULENT TRANSFER AND FOR INJUNCTIVE RELIEF

         Joseph G. Butler, the duly appointed trustee (the “Trustee”) of the above-captioned Chapter

7 estate of Thomas R. Bateman and Katherine E. Bateman (the “Debtors”), pursuant to 11 U.S.C.

§§ 548, 544, and 550 and M.G.L. c. 109A, §1, et. Seq. (Massachusetts Fraudulent transfer statute)

and/or 14 M.R.S.A. §3571, et. seq. (Maine Fraudulent transfer statute), hereby brings this action

against Defendants Robert E. Bateman, Leslie A. Bateman and the Town of Sebago, Maine

(collectively, the “Defendants”). The Trustee seeks to recover from the Defendants, for the benefit

of the bankruptcy estate, real estate of the Debtors, or the value thereof, transferred to the

Defendants. The initial alleged transfer was made pursuant to a real estate tax lien enforcement

proceeding by the Town of Sebago. The Town of Sebago and the Debtors then purportedly

transferred the same real estate by deeds to insiders of the Debtors, the Debtors’ son, Robert E.

Bateman and daughter-in-law, Leslie A. Bateman, (collectively, “Robert and Leslie”).

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       In further support hereof, the Trustee alleges as follows:

                                            PARTIES

       1.      Plaintiff is the duly-appointed Chapter 7 Trustee in this case with an address of Law

Office of Joseph G. Butler 355 Providence Highway, Westwood, Massachusetts 02090.

       2.      Defendants, Robert E. Bateman and Leslie A. Bateman, are individuals who reside

at 187 4th Avenue, Apartment 2, Brooklyn, New York 11217-5041. Robert and Leslie are,

respectively, the son and daughter-in-law of the Debtors.

       3.      Defendant, the Town of Sebago, is a duly constituted municipality located in the

State of Maine with an address of Town Clerk, 406 Bridgton Road Sebago, Maine 04029.

                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over the subject matter of this proceeding pursuant to

28 U.S.C. §§ 157(b) and 1334(b).

       5.      This is a core proceeding for which the Court is authorized to hear and determine

all matters regarding this case in accordance with 28 U.S.C. §157(b)(2) (A), (H), and (O).

       6.      Venue in the District of Massachusetts is proper pursuant to 28 U.S.C. §1409.

                                        BACKGROUND

       7.      On November 25, 1980, the Debtors purchased and took title, as joint tenants, to

the real property located at 18 Quaker Camp Road, Sebago, Maine 04029 (the “Maine

Property”). A true copy of the Deed transferring the Maine Property to the Debtors is attached

hereto as Exhibit A.

       8.      From and after 2004, no mortgages encumbered the Maine Property.

       9.      On September 15, 2011, the Town of Sebago recorded with the Cumberland




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County Registry of Deeds a tax lien certificate against the Maine Property in the amount of

$18,998.79. The Debtor Katherine E. Bateman’s name was not noted on the certificate. A copy

of said certificate is attached hereto as Exhibit B.

       10.     On September 14, 2012, the Town of Sebago recorded with the Cumberland

County Registry of Deeds a tax lien certificate against the Maine Property in the amount of

$19,337.20. The Debtor Katherine E. Bateman’s name was not noted on the certificate. A copy

of said certificate is attached hereto as Exhibit C.

       11.     On September 20, 2013, the Town of Sebago recorded with the Cumberland

County Registry of Deeds a tax lien certificate against the Maine Property in the amount of

$18,294.13. The Debtor Katherine E. Bateman’s name was not noted on the certificate. A copy

of said certificate is attached hereto as Exhibit D.

       12.     On February 26, 2015, the Town of Sebago filed suit against the Debtors in

Cumberland Superior Court (the “Superior Court Action”) for equitable relief pursuant to 36

M.R.S.A. §946 and, in the alternative, for declaratory judgment regarding the tax lien certificates

recorded in years 2011, 2012 and 2013. A copy of the docket for the Superior Court Action is

attached hereto as Exhibit E.

       13.     On March 9, 2015, the Debtors filed an answer in the Superior Court Action

alleging, inter alia, that there were “defects” in the notice to them regarding the tax liens. As of

that date, the tax liens recorded against the Maine Property totaled only $56,630.12 and

the Maine Property was assessed for tax purposes at a value of $1,358,610.00. The Maine

Property is lakefront property on Sebago Lake.

       14.     On April 2, 2015, the Town of Sebago filed its Plaintiff’s Motion for Summary




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Judgment with Incorporated Memorandum of Law and other supporting affidavits and pleadings

in the Superior Court Action. The Debtors did not oppose said motion.

       15.     On May 5, 2015, the Superior Court entered summary judgment in favor of the

Town of Sebago in the Superior Court Action. A copy of the Order granting summary judgment

in favor of the Town of Sebago is attached hereto as Exhibit F.

       16.     On May 13, 2015, the Debtors filed their Motion to Reconsider the Superior

Court Order respecting the allowance of the motion for summary judgment, along with affidavits

from both of the Debtors alleging that they never received the Town of Sebago’s Motion for

Summary Judgment.

       17.     On May 21, 2015, the Town of Sebago filed an opposition to the Debtors Motion

to Reconsider the Superior Court Order. On June 15, 2015, the Debtors’ Motion to Reconsider

the Superior Court Order was denied.

       18.     On July 21, 2015, the Town of Sebago, Board of Selectmen issued Minutes

which stated in relevant part that: “Jim Smith [the Town Manager] asked how the town should

proceed after receiving four sealed bids for the [Maine] property and whether they should hire a

broker or not.” A copy of said Minutes are attached hereto as Exhibit G.

       19.     On July 23, 2015, the Town of Sebago recorded the Superior Court Order

granting summary judgment in its favor with the Cumberland County Registry of Deeds.

       20.     On August 25, 2015, the Town of Sebago, Board of Selectmen issued Minutes

which stated: “[Selectperson] Ann Farley made a motion to authorize the Town’s Attorney to

explore possible negotiated resolution in the dispute as related to the recently tax acquired

[Maine Property.] It was seconded by [Selectperson] Tim Mayberry. Motion carried with

[Selectperson] Jim Libby opposed.” A copy of said Minutes are attached hereto as Exhibit H.



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       21.     On September 1, 2015, the Town of Sebago, Board of Selectmen issued Minutes

which stated: “The Board reconvened at 7:30 p.m. [Selectperson] Ann Farley made a motion to

enter into an agreement with Robert Bateman and his wife [the son and daughter-in-law of the

Debtors] allowing them to repurchase the [Maine Property] in the amount of $300,000.00. Sale

needs to be completed within 30 days. It was seconded by [Selectman] Edythe Harnden. Motion

carried.” A copy of said Minutes are attached hereto Exhibit I.

       22.     At the time the Motion to enter into an agreement with Robert and Leslie to sell

them the Maine Property for $300,000.00 was made, the Maine Property was assessed for tax

purposes at a value of $1,358,610.00.

       23.     On November 3, 2015, the following documents were recorded at the Cumberland

County Registry of Deeds, respecting the Maine Property, in the following order:

       (i)     Municipal Release Deed, dated October 28, 2015, from the Town of Sebago to
               Robert and Leslie referencing three tax liens in the amount of $18,998.79,
               $19,337.20 and $18,294.13 (total of $56,630.12). A copy of said Municipal
               Release Deed is attached hereto as Exhibit J.

       (ii)    Quitclaim Deed, dated September 25, 2015, from the Debtors to Robert and
               Leslie, a copy of which Quitclaim Deed is attached hereto as Exhibit K.

       (iii)   Mortgage, dated October 29, 2015, granted by Robert and Leslie to Cport Credit
               Union in the amount of $240,000.00, a copy of which mortgage is enclosed
               herewith as Exhibit L.

       24.     Upon information and belief, Robert and Leslie paid only $60,000.00 as a cash

down payment for the Maine Property financing the balance of the purchase with a $240,000.00

first mortgage loan from CPort Credit Union.

       25.     Robert and Leslie are “insiders” of the Debtors pursuant to 11 U.S.C. § 101(31).

       26.     After Robert and Leslie acquired the Maine Property, it was re-assessed for




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tax purposes by the Town of Sebago at a value of $1,140,696.00. A copy of a statement from the

Deputy Clerk for the Town of Sebago, dated April 19, 2017, in this regard is attached hereto as

Exhibit M.

       27.     Upon information and belief, under Maine law, assessments for tax purposes are

required to be within 10% of fair market value.

       28.     On April 5, 2017, (the “Petition Date”) the Debtors filed a voluntary petition for

relief under Chapter 11 of the United States Bankruptcy Code (11 U.S.C. §§1101, et. seq.) (the

“Bankruptcy Code”). The Debtor Thomas Bateman is an attorney.

       29.     On April 19, 2017, the Debtors filed with the Court their Statement of Financial

Affairs [Docket No. 14]. In response to question no. 18: “Within 2 years before you filed for

bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?” the Debtors’ answered

“no” and did not describe the real estate tax enforcement proceeding and alleged transfer of the

Maine Property to the Town of Sebago or the transfer of the Maine Property to Robert and Leslie

by the Debtors’ Quitclaim Deed, dated September 25, 2015.

       30.     After they were questioned about said transfers by parties in interest in their

bankruptcy case, the Debtors, on June 2, 2017, filed an amended Statement of Financial Affairs

[Docket No. 34] in which they identified their transfer of the Maine Property to Robert and Leslie.

       31.     On February 5, 2018, the Debtors’ Chapter 11 case was converted to a case under

Chapter 7 of the Bankruptcy Code.

       32.     On February 6, 2018, the Trustee was appointed.

       33.     Under Maine law, tax lien certificates must contain the name of the record owner




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in order to be effective. In the event that real estate is owned by two record owners, both owners

must be named in the tax lien certificates in order for them to be effective. See, Town of Pownal

v. Anderson 728 A.2d 1254, 1258-59 (1999) (failure to include spouse/co-owner’s name on the

certificate of tax lien renders the lien void).

        34.     The tax lien certificates served by the Town of Sebago and recorded with the

Cumberland County Registry of Deeds in 2011, 2012, and 2013 with respect to the Maine

Property were all defective as they were addressed solely to Thomas R. Bateman rather than to

both Thomas R. Bateman and Katherine E. Bateman, the record owners of the Maine Property.

        35.     The Town of Sebago admitted this error in a letter, dated November 6, 2014, from

its counsel, Brian D. Willing to the Debtors. Pursuant to said letter, the Town of Sebago

attempted to cure the defect in its tax lien certificates by delivering further notice to both

Katherine and Thomas Bateman enclosing copies of said certificates. A copy of said letter is

annexed hereto as Exhibit N.

        36.     Upon information and belief, thereafter, on February 26, 2015, the Town of

Sebago commenced the Superior Court Action in an attempt to clear the cloud on title to the

Maine Property that had arisen as a result of the defective tax lien certificates.

        37.     In the Superior Court Action, the Town of Sebago sought only to confirm that

the admittedly defective statutory tax lien enforcement process was sufficient to transfer title to

the Town of Sebago. In the Superior Court Action, the Town of Sebago did not seek to provide

for any solicitation of bids or competitive bidding for the Maine Property.

        38.     The Town of Sebago at all relevant times had an alternative procedure available

to it by which it could have sold the Maine Property at public sale. See, 36 M.R.S.A. § 941.




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          39.    The earliest that the Maine Property could have been transferred to the Town of

Sebago was on July 23, 2015, when the Town of Sebago recorded the Superior Court order

granting summary judgment with the Cumberland County Registry of Deeds. See 36 M.R.S.A. §

946(2).

          40.    Notwithstanding the recording of said Order and the Town of Sebago’s delivery

of the above-described Municipal Release Deed to the Maine Property to Robert and Leslie, the

Debtors also executed, delivered and recorded the above-described Quitclaim Deed to the Maine

Property, dated September 25, 2015, to Robert and Leslie.

          41.    Whether transferred first to the Town of Sebago, by the recording of the summary

judgment order and, thereafter, to Robert and Leslie by the Municipal Release Deed or directly

to Robert and Leslie by the Quitclaim Deed from the Debtors, the Maine Property was

transferred to the insider Defendants Robert and Leslie within the two-year period prior to the

Petition Date.

          42.    To the extent that the Maine Property was transferred to the Town of Sebago, said

property was transferred in satisfaction of approximately $56,630.12 in taxes at a time when the

Maine Property was assessed at approximately $1,358,610.00.

          43.    At the time of the alleged transfer of the Maine Property to the Town of Sebago,

the Debtors were insolvent or were rendered insolvent by said transfer.

          44.    At the time of the alleged transfer of the Maine Property to Robert and Leslie,

the Debtors were insolvent or were rendered insolvent by said transfer.

          45.    Upon information and belief, the Debtors never listed the Maine Property with a

broker for sale prior to the alleged transfer to the Town of Sebago.

          46.    Upon information and belief, the process by which the Town of Sebago allegedly



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took title to the Maine Property involved no public auction or other competitive bidding process.

        47.     Upon information and belief, the Town of Sebago never retained an auctioneer or

broker to assist the Town of Sebago in a sale of the Maine Property.

        48.     Upon information and belief, the Town of Sebago never advertised the Maine

Property for sale in any publication of general circulation in the Sebago area or elsewhere.

        49.     Upon information and belief, at least four sealed bids to purchase the

Maine Property were submitted to the Town of Sebago in 2015.

        50.     Upon information and belief, the Town of Sebago did not consider at least three

of those bids and did not request any further bids or bidding for the Maine Property.

        51.     Upon information and belief, the Town of Sebago did not conduct a process of

competitive bidding among the bidders who had submitted sealed bids for the Maine Property.

        52.     At his creditors meeting held on May 8, 2017, Thomas R. Bateman testified that

the Maine Property was appraised for $1,800,000.00 in 2015.

        53.     Also, at his creditors meeting, in response to the question “why is there a

deed from you to your son in the registry Mr. Bateman” he answered “Because, uh, negotiated

with my son for him to purchase it back from the town.”

              Count I-Avoidance of Fraudulent Transfer to the Town of Sebago
                       (11 U.S.C. §§ 548(a)(1)(A), 548(a)(1)(B) and 550)

        54.     The Trustee repeats and realleges the allegations of the previous paragraphs as if

fully restated herein.

        55.      On July 23, 2015, the Debtors’ interest in the Maine Property was transferred to

the Town of Sebago by recording of the summary judgment order during the two-year fraudulent

transfer period (April 5, 2015-April 5, 2017) under 11 U.S.C §548(a)(1) (the “Sebago Transfer”).

        56.     The Sebago Transfer was the result of a scheme by the Debtors, Robert and Leslie

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and the Town of Sebago to allow the Maine Property to be acquired by the Town of Sebago for

unpaid taxes so that the Maine Property and the substantial equity therein, could then be acquired

by the insiders Robert and Leslie.

       57.     The Debtors’ fraudulent intent is evidenced by their failure to attempt to sell the

Maine Property at any time prior to or during the lengthy tax lien enforcement activities of the

Town of Sebago. Such intent is further evidenced by their failure to defend in any meaningful way

against the tax lien enforcement proceedings, especially where they had an obvious legal defense

(that the tax liens were void) which was not raised in their pleadings at any time during said

proceedings.

       58.     The Debtors’ fraudulent intent is further evidenced by the Quitclaim Deed of the

Maine Property, dated September 25, 2015, from the Debtors to Robert and Leslie, which

Quitclaim Deed was not initially disclosed by the Debtors in their bankruptcy case.

       59.     Other badges of fraud are that: the Debtors’ were insolvent at the time of the

Sebago Transfer or became insolvent as a result of the Sebago Transfer; the Maine Property was

transferred to insiders of the Debtors, Robert and Leslie; the Debtors’ were defendants in litigation

at or about the time of the Sebago Transfer; and the Maine Property was purportedly transferred

to a lienor (Town of Sebago) who then transferred the Maine Property to insiders of the Debtors.

       60.     Accordingly, the Debtors, through their collusion with the Town of Sebago and

Robert and Leslie, effectively made the Sebago Transfer with actual intent to hinder, delay, or

defraud an entity to which the Debtors were or became indebted on or after the date the Sebago

Transfer was made within the meaning of 11 U.S.C. §548(a)(1)(A).

       61.     Additionally, the Debtors received less than a reasonably equivalent value in




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exchange for the Sebago Transfer and the Debtors: (i) were insolvent on the date of the Sebago

Transfer, or became insolvent as a result of the Sebago Transfer; or (ii) were engaged in business

or a transaction, or were about to engage in business or a transaction, for which any property

remaining with the Debtors was unreasonably small capital; or (iii) or intended to incur, or believed

that the Debtors would incur, debts that would be beyond the Debtors’ ability to pay as such debts

matured, all within the meaning of 11 U.S.C. §548(a)(1)(B).

        62.     Based upon the foregoing, the Sebago Transfer is avoidable under 11 U.S.C.

§548(a)(1)(A) and/or §548(a)(1)(B) and, pursuant to 11 U.S.C. §550, the Town of Sebago owes

the Debtors’ bankruptcy estate the value of the Maine Property transferred, plus interest, and any

further amount that this Court determines to have been fraudulently transferred or the Trustee is

entitled to a reconveyance of the Maine Property to the Debtors’ estate.

        63.     To the extent that Robert and Leslie are determined to be subsequent transferees of

the initial transferee of the Maine Property, the Trustee may also recover the value of the Maine

Property or the Maine Property from Robert and Leslie as they are, at best, immediate transferees

who have not acted in good faith under 11 U.S.C. §550(b).

              Count II-Avoidance of Fraudulent Transfer to Town of Sebago
  (11 U.S.C. §§ 544 and 550; and M.G.L. c. 109A §1, et seq. or 14 M.R.S.A. §3571, et. seq.)

        64.     The Trustee repeats and realleges the allegations of the previous paragraphs as if

fully restated herein.

        65.     The Sebago Transfer occurred during the four-year fraudulent transfer period (April

5, 2013–April 5, 2017) provided for by M.G.L. Chapter 109A and during the six-year fraudulent

transfer period provided by 14 M.R.S.A. §3571, et. seq.

        66.     The Debtors, through their collusion with the Town of Sebago and




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Robert and Leslie, effectively made the Sebago Transfer with the actual intent to hinder, delay, or

defraud their creditors. Such intent is shown by, among other things, the badges of fraud and other

evidence of fraud previously referred to in this Complaint. Thus, the Sebago Transfer is fraudulent

under M.G.L. c. 109A, §5(a)(1) and/or 14 M.R.S.A. §3575.1A.

       67.     Additionally, the Debtors made the Sebago Transfer without receiving a reasonably

equivalent value in exchange for the Sebago Transfer and: (i) the Debtors were engaged in business

or a transaction, or were about to engage in business or a transaction, for which any assets

remaining with the Debtors were unreasonably small in relation to the business or transaction; or

(ii) the Debtors intended to incur, or believed that the Debtors would incur, debts that would be

beyond the Debtors’ ability to pay as such debts became due. The Sebago Transfer is fraudulent

under M.G.L. c. 109A, §5(a)(2) and/or 14 M.R.S.A. §3575.1. B.

       68.     Additionally, the Debtors made the Sebago Transfer without receiving a reasonably

equivalent value in exchange at a time when the Debtors were insolvent or became insolvent as a

result of the Sebago Transfer. The Sebago Transfer is fraudulent under M.G.L. c. 109A, §6(a)

and/or 14 M.R.S.A. §3576.1.

       69.     Pursuant to 11 U.S.C. §544(b), the Trustee may avoid any transfer of an interest of

a debtor in property that is avoidable under applicable state law (in this case, M.G.L. c. 109A or

14 M.R.S.A. §3571, et. seq) or by a creditor holding an unsecured claim that is allowable under

11 U.S.C. §502.

       70.     There are creditors who hold unsecured claims against the Debtors including,

without limitation, Samek & Kennedy and the IRS, that are allowable under §502 of the

Bankruptcy Code, which claims existed as of and prior to the date of the Sebago Transfer and

remained owed as of the Petition Date.



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        71.     Based upon the foregoing, the Sebago Transfer constitutes a fraudulent transfer

pursuant to M.G.L. c. 109A and/or 14 M.R.S.A. §3571, et. seq. which is avoidable by the Trustee

pursuant to 11 U.S.C. §544(b). Pursuant to 11 U.S.C. §550, M.G.L. c. 109A §9 and 14 M.R.S.A.

§3579, the Town of Sebago owes the Debtors’ bankruptcy estate the value of the Maine Property

transferred, plus interest thereon, and any further amount that this Court determines to have been

fraudulently transferred or the Trustee is entitled to a reconveyance of the Maine Property to the

Debtors’ estate.

        72.     To the extent that Robert and Leslie are determined to be subsequent transferees of

the initial transferee of the Maine Property, the Trustee may also recover the value of the Maine

Property or the Maine Property from Robert and Leslie as they are, at best, immediate transferees

who have not acted in good faith under 11 U.S.C. §550(b).

              Count III-Avoidance of Fraudulent Transfer to Robert and Leslie
                       (11 U.S.C. §§ 548(a)(1)(A), 548(a)(1)(B) and 550)

        73.     The Trustee repeats and realleges the allegations of the previous paragraphs as if

fully restated herein.

        74.     The Debtors’ interest in the Maine Property was transferred to Robert and Leslie

by the Quitclaim Deed, dated September 25, 2015, from the Debtors to Robert and Leslie and/or

by the Municipal Release Deed, dated October 28, 2015, from the Town of Sebago (the “Robert

and Leslie Transfer”).

        75.     The Robert and Leslie Transfer was the result of a scheme by the Debtors, Robert

and Leslie and the Town of Sebago to allow the Maine Property to be acquired by the Town of

Sebago for unpaid taxes so that the Maine Property and the substantial equity therein, could then

be acquired by the insiders Robert and Leslie.

        76.     The Debtors, through their collusion with the Town of Sebago and

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Robert and Leslie, and then by way of the Quitclaim Deed, made the Robert and Leslie Transfer

with the actual intent to hinder, delay, or defraud their creditors. Such intent is shown by, among

other things, the badges of fraud and other evidence of fraud previously referred to in this

Complaint.

       77.     Accordingly, the Robert and Leslie Transfer was made with actual intent to hinder,

delay, or defraud an entity to which the Debtors were or became indebted on or after the date the

Sebago Transfer was made within the meaning of 11 U.S.C. §548(a)(1)(A).

       78.     Additionally, the Debtors received less than a reasonably equivalent value in

exchange for the Robert and Leslie Transfer and the Debtors: (i) were insolvent on the date of the

Robert and Leslie Transfer, or became insolvent as a result of the Robert and Leslie Transfer; or

(ii) were engaged in business or a transaction, or were about to engage in business or a transaction,

for which any property remaining with the Debtors was unreasonably small capital; or (iii)

intended to incur, or believed that the Debtors would incur, debts that would be beyond the

Debtors’ ability to pay as such debts matured, all within the meaning of 11 U.S.C. §548(a)(1)(B).

       79.     Based upon the foregoing, the Robert and Leslie Transfer is avoidable under 11

U.S.C. §548(a)(1)(A) and/or §548(a)(1)(B) and, pursuant to 11 U.S.C. §550, Robert and Leslie

owe the Debtors’ bankruptcy estate the value of the Maine Property transferred, plus interest, and

any further amount that this Court determines to have been fraudulently transferred or the Trustee

is entitled to a reconveyance of the Maine Property to the Debtors’ estate.

       80.     To the extent that it is determined that the Sebago Transfer was the initial transfer

by the Debtors of the Maine Property, the Trustee may also recover the value of the Maine Property

or the Maine Property from Robert and Leslie as they are, at best, immediate transferees who have

not acted in good faith under 11 U.S.C. §550(b). Alternatively, the Sebago Transfer and the Robert



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and Leslie Transfer should be collapsed into and considered a single transfer conducted pursuant

to a fraudulent scheme.

              Count IV-Avoidance of Fraudulent Transfer to Robert and Leslie
  (11 U.S.C. §§ 544 and 550; and M.G.L. c. 109A §1, et seq. or 14 M.R.S.A. §3571, et. seq.)

        81.     The Trustee repeats and realleges the allegations of the previous paragraphs as if

fully restated herein.

        82.     The Robert and Leslie Transfer was the result of a scheme by the Debtors, Robert

and Leslie and the Town of Sebago to allow the Maine Property to be acquired by the Town of

Sebago for unpaid taxes so that the Maine Property and the substantial equity therein could then

be acquired by the insiders Robert and Leslie.

        83.     The Debtors, through their collusion with the Town of Sebago and Robert and

Leslie, and then by way of the Quitclaim Deed, made the Robert and Leslie Transfer with the

actual intent to hinder, delay, or defraud their creditors. Such intent is shown by, among other

things, the badges of fraud and other evidence of fraud previously referred to in this Complaint.

        84.     The Robert and Leslie Transfer occurred during the four-year fraudulent transfer

period (April 5, 2013–April 5, 2017) provided for by M.G.L. Chapter 109A and during the six-

year fraudulent transfer period provided by 14 M.R.S.A. §3571, et. seq.

        85.     The Debtors, through their inaction, made the Robert and Leslie Transfer with the

actual intent to hinder, delay, or defraud their creditors. Such intent is shown by, among other

things, the badges of fraud and other evidence of fraud previously referred to in this Complaint.

Thus, the Robert and Leslie Transfer is fraudulent under M.G.L. c. 109A, §5(a)(1) and/or 14

M.R.S.A. §3575.1A.

        86.     Additionally, the Debtors made the Robert and Leslie Transfer without receiving a




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reasonably equivalent value in exchange for the Robert and Leslie Transfer and: (i) the Debtors

were engaged in business or a transaction, or were about to engage in business or a transaction, for

which any assets remaining with the Debtors were unreasonably small in relation to the business

or transaction; or (ii) the Debtors intended to incur, or believed that the Debtors would incur, debts

that would be beyond the Debtors’ ability to pay as such debts became due. The Robert and Leslie

Transfer is fraudulent under M.G.L. c. 109A, §5(a)(2) and/or 14 M.R.S.A. §3575.1. B.

       87.     Additionally, the Debtors made the Robert and Leslie Transfer without receiving a

reasonably equivalent value in exchange at a time when the Debtors were insolvent or became

insolvent as a result of the Robert and Leslie Transfer. The Robert and Leslie Transfer is fraudulent

under M.G.L. c. 109A, §6(a) and/or 14 M.R.S.A. §3576.1.

       88.     Pursuant to 11 U.S.C. §544(b), the Trustee may avoid any transfer of an interest of

a debtor in property that is avoidable under applicable state law (in this case, M.G.L. c. 109A or

14 M.R.S.A. §3571, et. seq) or by a creditor holding an unsecured claim that is allowable under

11 U.S.C. §502.

       89.     There are creditors who hold unsecured claims against the Debtors including,

without limitation, Samek & Kennedy and the IRS, that are allowable under §502 of the

Bankruptcy Code which claims existed as of and prior to the date of the Robert and Leslie Transfer

and remained owed as of the Petition Date.

       90.     Based upon the foregoing, the Robert and Leslie Transfer constitute a fraudulent

transfer pursuant to M.G.L. c. 109A and/or 14 M.R.S.A. §3571, et. seq. which is avoidable by the

Trustee pursuant to 11 U.S.C. §544(b). Pursuant to 11 U.S.C. §550, M.G.L. c. 109A §9 and 14

M.R.S.A. §3579, Robert and Leslie owe the Debtors’ bankruptcy estate the value of the Maine

Property transferred, plus interest thereon, and any further amount that this Court determines to



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have been fraudulently transferred or the Trustee is entitled to a reconveyance of the Maine

Property to the Debtors’ estate.

        91.        To the extent that Robert and Leslie are determined to be subsequent transferees of

the initial transferee of the Maine Property, the Trustee may also recover the value of the Maine

Property or the Maine Property from Robert and Leslie as they are, at best, immediate transferees

who have not acted in good faith under 11 U.S.C. §550(b).

                              Count V-Request for Injunctive Relief
                      Pursuant to 11 U.S.C. §105(a) and Bankruptcy Rule 7065

        92.        The Trustee repeats and realleges the allegations of previous paragraphs as if

fully set forth herein.

        93.        A high probability exists that the Trustee will succeed on the merits of this

adversary proceeding. Other than the Maine Property, the Trustee is unaware of any other assets

of the Debtors that would be available to satisfy a judgment.

        94.        The Debtors’ estate will suffer irreparable harm absent the grant of a preliminary

injunction during the pendency of this matter that enjoins Robert and Lesley from directly or

indirectly, transferring, encumbering, mortgaging, pledging, hypothecating, secreting, alienating,

assigning or otherwise disposing of or lessening the value of the Maine Property.

        95.        The balance of equities weighs in favor of granting the preliminary injunction

requested herein.

        96.        The granting of the preliminary injunction requested herein is consistent with the

public interest.

        97.        Additionally, pursuant to 11 U.S.C. §105(a), this Court “may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.”




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       98.     Pursuant to §105(a) and Bankruptcy Rule 7065 and Rule 65 F.R. Civ. P. and,

based upon the forgoing allegations, the Trustee is entitled to a preliminary injunction enjoining

and restraining the Defendants, Robert E. Bateman and Leslie A. Bateman, their agents,

attorneys, employees, assignees, pledgees, nominees, successors and other representatives, from,

directly or indirectly, transferring, encumbering, mortgaging, pledging, hypothecating, secreting,

alienating, assigning or otherwise disposing of or lessening the value of the Maine Property,

pending further order of the Court. A form of preliminary injunction proposed by the Trustee is

attached to the Plaintiff’s Motion for Preliminary Injunction filed herewith.

       99.     The Trustee further seeks, after trial, the entry of an order of this Court, directing

that the Maine Property or its value be turned over to the Trustee to the extent necessary to

satisfy any judgment in favor of the Trustee.

                                      Reservation of Rights

       100.    The Trustee reserves the right to bring additional claims against the Defendants

and to supplement and amend the allegations of this Complaint. Nothing contained herein shall be

deemed a waiver of any rights or causes of action that the Trustee may have against any of the

Defendants.



       WHEREFORE, the Trustee prays that this Court: (i) forthwith enter a preliminary

injunction against the Defendants Robert E. Bateman and Leslie A. Bateman pursuant to Count V

of this Complaint in the proposed form attached to the Plaintiff’s Motion for Preliminary

Injunction filed herewith; (ii) enter judgment in the Trustee’s favor on Counts I through IV of this

Complaint and order that each of the Defendants owes the Debtors’ bankruptcy estate the value of

the Maine Property transferred plus interest and any further amount that this Court determines to



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have been fraudulently transferred or directing the Defendants to reconvey the Maine Property to

the Trustee and/or to the Debtors’ estate; and (iii) grant such other and further relief as this Court

deems just and appropriate.




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                                                         Jo ph G. cutler
                                                         Chapter 7 Trustee of
                                                         Thomas R. Bateman and
                                                         Katherine E. Bateman


                          COMMONWEALTH OF MASSACHUSETTS

  Norfolk, ss.

  On this     day of December 2018, before me, the undersigned Notary Public, personally
  appeared the above-named Joseph G. Butler, who proved to me by satisfactory evidence
  of identification, being (check whichever applies): (___) driver's license or other state or
  federal governmental document bearing a photographic image; ( ) oath or affirmation of
  a credible witness known to me who knows the above signatory, ( ) or my own personal
  knowledge of the identity of the signatory, to be the person whose name is signed above,
  and acknowledged the foregoing to be signed by him in his capacity as Chapter 7 Trustee
  of Thomas R. Bateman and Katherine E. Bateman and who swore or affirmed to me that
  the contents of the document are truthful and accurate to the best of his knowledge,
  information and belief,
                                                                                         ‘,.E V iN ,,,,,,,




  Dated: December    5(.,2018                   Respectfully submitted,         '11'11
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                                                                                                \\n

                                                Joseph G. Butler, Chapter 7 Trustee of '''''''" "‘
                                                Thomas R. Bateman and Katherine E. Bateman
                                                By his attorneys,

                                                /s/ James M. Liston
                                                James M. Liston (BBO # 301750)
                                                Jonathan M. Hixon (BBO # 692420)
                                                Hackett Feinberg P.C.
                                                155 Federal Street, 9th Floor
                                                Boston, MA 02110
                                                Tel. (617) 422-0200
                                                jml@bostonbusinesslaw.com
                                                jmh@bostonbusinesslaw.com




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